                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  AT NASHVILLE

LAKENYA McGHEE-TWILLEY individually                  )
and as next-of-kin to the deceased,                  )
Marktavious Twilley                                  )
                                                     )        Case No. 3:23-cv-00077
v.                                                   )        Judge Campbell
                                                     )        Magistrate Judge Holmes
CORECIVIC OF TENNESSEE, LLC et al.                   )

                                            ORDER

       For the reasons discussed below, the Clerk of Court is DIRECTED to STRIKE the First

Amended Complaint and accompanying exhibits located at Docket Entry Nos. 80 and 80-1 to 80-

4.

       On February 14, 2024, Plaintiff filed a Motion for Leave to File a First Amended Complaint

(Docket No. 67), accompanied by a proposed First Amended Complaint and exhibits (Docket Nos.

67-1 to 67-5). Plaintiff sought to make five categories of amendments to her complaint, including

adding several new defendants and one new claim, and revising prior claims to address alleged

actions by the new proposed defendants. (Docket No. 68 at 3; Docket No. 79 at 3–4.)

       Following briefing by the parties, the Court entered a Memorandum Opinion and Order on

March 27, 2024 that granted in part and denied in part Plaintiff’s motion. (Docket No. 79.) In this

Order, the Court permitted Plaintiff to amend her complaint, but only to add certain proposed

defendants and claims. (Id. at 27.) In other words, Plaintiff was not permitted to file her proposed

First Amended Complaint (Docket No. 67-1) as it was presented because she would need to make

appropriate revisions in accordance with the Court’s Order.

       Accordingly, the proposed First Amended Complaint and exhibits (Docket Nos. 67-1 to

67-5) that were docketed at Docket Entry Nos. 80 and 80-1 to 80-4 contain claims and allegations




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that are not permitted. For these reasons, the Clerk DIRECTED to STRIKE the First Amended

Complaint and accompanying exhibits located at Docket Entry Nos. 80 and 80-1 to 80-4.

       As previously directed, Plaintiff may, within fourteen (14) days of the date of the Court’s

prior Memorandum Opinion and Order, entered on March 27, 2024 (Docket No. 79), file an amended

complaint that includes the permitted amended allegations and claims. Plaintiff is cautioned that the

amended complaint must be limited to the amendments permitted by the prior Memorandum Opinion

and Order. Failure to do so may result in adverse consequences. See Fed. R. Civ. P. 16(f).

       It is SO ORDERED.



                                               BARBARA D. HOLMES
                                               United States Magistrate Judge




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